                   Case 17-10124       Doc 233     Filed 06/05/19     Page 1 of 2
SO ORDERED.

SIGNED this 5th day of June, 2019.




                            UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF NORTH CAROLINA
                                  GREENSBORO DIVISION

      In Re:                                            )
                                                        )
      SLANE MARINE, INC.                                )     Case No. 17-10124
                                                        )     Chapter 7
                            Debtor.                     )
                                                        )


       ORDER GRANTING APPLICATION BY MARINE TOOLING TECHNOLOGY,
          INC. FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM

              This matter came on for hearing before the above-signed United States
      Bankruptcy Judge on June 4, 2019, to consider the Application by Marine Tooling
      Technology, Inc. for Allowance of Administrative Expense Claim [DOC# 222] (the
      “Application”) filed by Marine Tooling Technology, Inc. on April 30, 2019. Appearing
      at the hearing were Daniel C. Bruton as counsel for Marine Tooling Technology, Inc.,
      James C. Lanik as the Chapter 7 trustee, and William P. Miller as the United States
      Bankruptcy Administrator. No party in interest filed an objection to the Application and
      no party in interest objected to the Application at the hearing. Based on the Application
      and the entire official file, the Court finds good and sufficient cause to approve the
      Application and to grant Marine Tooling Technology, Inc. an allowed Chapter 11
      administrative priority expense claim in the amount of $2,700.00, pursuant to Section
      503(b)(1) of the Bankruptcy Code.

             IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the
      Application is approved and that Marine Tooling Technology, Inc. is granted an allowed
      Chapter 11 administrative expense priority claim in the amount of $2,700.00, pursuant to
      Section 503(b)(1) of the Bankruptcy Code.

                                       END OF DOCUMENT
             Case 17-10124         Doc 233   Filed 06/05/19   Page 2 of 2



Parties to be served with Order:

James C. Lanik
Waldrep LLP
101 S. Stratford Road, Suite 210
Winston-Salem, NC 27104

William P. Miller
US Bankruptcy Administrator
101 South Edgeworth Street
Greensboro, NC 27401

Bryant T. Aldridge, Jr.
PO Box 5006
High Point, NC 27262
